Case:21-14821-EEB Doc#:146 Filed:04/27/22        Entered:04/27/22 11:52:36 Page1 of 2




               UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF COLORADO

 In re:

      KDA PROPERTIES, LLC,                            Case No.: 21-14821-EEB
      EIN XX-XXXXXXX,
                                                      Chapter: 11
              Debtor.


    ORDER APPROVING STIPULATION RESOLVING OBJECTION TO
    DEBTOR’S AMENDED PLAN OF REORGANIZATION AND PANGEA
         MORTGAGE CAPITAL, LLC’S MOTION TO DISMISS


        THIS MATTER having come before the Court on the Stipulation Resolving
 Objection to Debtor’s Amended Plan of Reorganization and Pangea Mortgage
 Capital, LLC’s Motion to Dismiss, jointly submitted by KDA Properties, LLC
 (“Debtor”) and Pangea Mortgage Capital, LLC (“Pangea”); the Court having
 reviewed the Stipulation and its file with respect to this matter; and being advised
 in the premises, hereby finds

        The Stipulation is APPROVED, and its terms are hereby adopted and made
 an Order of this Court. The Court will enter separate Orders granting: (i) the
 Debtor’s Applications to Employ both Ten-X, LLC as auctioneer (Dkt. No. 96) and
 Marcus & Millichap as broker (Dkt. No. 99) to conduct a public auction for the sale
 of the Property; (ii) the Debtor’s Motion for Order to (1) Authorize and Schedule an
 Auction to Solicit Bids for the Sale of Debtor’s Real Property, (2) Approve Auction
 and Bid Procedures, and (3) Schedule a Hearing to Consider Approval of the Sale
 (Dkt. No. 102); and (iii) the Debtor’s Motion to Approve Sale of Estate Property Free
 and Clear of All Liens, Claims, and Encumbrances by Auction Pursuant to 11
 U.S.C. § 363(b) and (f) (Dkt. No. 105); all of which shall be subject to the terms set
 forth in the Stipulation.
Case:21-14821-EEB Doc#:146 Filed:04/27/22         Entered:04/27/22 11:52:36 Page2 of 2




      Dated: this 27th day of April, 2022

                                                BY THE COURT:

                                                ________
                                                      _ ________________________
                                                ________________________________
                                                Hon. E lizabeth E. Brown
                                                     Elizabeth
                                                U.S. Bankruptcy Court Judge




                                            2
